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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




MOHAMMED NAZIR BIN LEP,

       Petitioner,                                            Civil Case No. 19-2799 (JOB)
               v.
DONALD TRUMP, et al.,

       Respondents.



                           MEMORANDUM OPINION & ORDER

         Petitioner Mohammed Nazir Bin Lep, a detainee at the Guantanamo Bay Naval Station in

 Guantanamo Bay, Cuba, seeks a court order enjoining the government

- ostensibly for a military commission proceeding but before any charges against Bin

 Lep have actually been referred to a military commission.

                                                                            Before this Court is

 petitioner's oral motion for temporary emergency relief, which was supported by the arguments

 in petitioner's motion for a preliminary injunction and additional memorandum of law. See

 Pet'r's Mot. for a Preliminary Injunction [ECF No. 4] ("Pet'r's PI Mot."); Pet'r's Mem. of Law

 on Jurisdiction and Other Issues. The government opposes petitioner's motion for temporary

 emergency relief. See Resp'ts' Opp. to Pet'r's Mot. for a Preliminary Injunction and Request for

 Emergency Relief ("Resp'ts' Opp. Br."). For the reasons below, this Court grants petitioner's

 request for temporary emergency relief and orders that the government is restrained from

 conducting the first                       scheduled to commence on




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            Finally, the Court finds that granting temporary emergency relief will serve the public

     interest by safeguarding the detainees' basic procedural rights and ensuring that a future military

     commission is not forced into a position where it cannot effectively try Bin Lep because much of

                                         has been irreparably tainted. Thus, on the current record, the

     Court concludes that it is likely that Bin Lep will succeed. to some extent, on the merits; that he

     will suffer irreparable harm if relief is not granted; that the balance of equities favors Bin Lep;

     and that the public interest will be served by the grant of temporary emergency relief.

            Hence, upon consideration of Bin Lep's oral request for temporary emergency relief. the

     memoranda of law in support of and in opposition to his motion. the hearing held September 20,

     2019, and the entire record herein, it is hereby ORDERED that respondents are restrained-




     SO ORDERED.



     Dated: September 23, 2019
                                                                                   /s/
                                                                 John 0. Bates
                                                                 United States District Judge




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